Case 1:19-cr-00098-CMA Document 74-3 Filed 01/08/20 USDC Colorado Page 1 of 4

Doug Shadel

dshadel@aarp.org
Experience
Columnist/Investigative Reporter — AARP The Magazine 20 14-present
State Director - AARP Washington 2003-Present
Associate Regional Director — AARP West Region 1999-2003
Consumer Affairs Director - AARP West Region 1993-1999
Special Assistant to the Attorney General —Washington AG’s Office 1989-1993
State Investigator — Washington State Attorney General’s Office 1979-1989
Legislative Aide - United States Senate - Committee on Appropriations 1978
Education
PhD Social Science Tilburg University 2007
EdD Educational Leadership Seattle University 1997
MPA Public Administration The Evergreen State College 1983
BA Political Science University of Washington 1979

Selected Books

Outsmarting the Scam Artists: How to Protect Yourself from the Most Clever Cons, by Doug
Shadel, John Wiley & Sons, 2012.

Weapons of Fraud: A Source Book for Fraud Fighters Co-authored by Doug Shadel and Anthony
Pratkanis, PhD. AARP, 2005.

Outsmart Crime: Creative Strategies for Outsmarting Today’s Criminal Co-authored by Doug
Shadel and Al Ward - Foreword by Washington Attorney General Ken Eikenberry. Newcastle
Publishing, Los Angeles, CA. 1995.

Schemes & Scams: A Practical Guide for Outwitting Today’s Con Artist Co-authored by Doug
Shadel and John T. Foreword by Walter Cronkite. Newcastle Publishing, Los Angeles, CA. 1994

Organizations

Expert Witness — US Department of Justice, Criminal Division 2014-2018
American Psychological Association 2017-Present
Association for Psychological Science, Washington DC 20 16-Present
Stanford Fraud Research Center Advisory Board 2010-2015
National Institute of Justice — Peer Review Panelist 2012-2014
Seattle University Educational Leadership Advisory Board 2005-2010
Bureau of Justice Assistance, DOJ, Grant Review Panelist 2006-2008
Washington State Crime Prevention Assn. Board of Directors 1989-1993
South Sound Senior Services Board of Directors 1981-1986
1 Doug Shadel CV

EXP_00000372
Case 1:19-cr-00098-CMA Document 74-3 Filed 01/08/20 USDC Colorado Page 2 of 4

Selected Presentations

U.S. Senate Special Committee on Aging, Elder fraud in America, Washington D.C., 2018
White House Regional Conference on Aging, Elder Justice Panelist, Seattle, 2015.
Stanford University Fraud Research Center Symposium, Washington DC, 2014

U.S. Senate Special Committee on Aging, Jamaican Lottery Scam, Washington DC, 2013
AARP National Member Event, New Orleans, LA, 2012.

Stanford Fraud Research Center Conference, Washington DC, 2011.

National Academy of Science, Symposium on Elder Abuse, Washington DC, 2010.

National Assn. of Elder Law Attorneys (NAELA) Annual Conference Orlando Florida, 2010.

Research
Up For Grabs: Taking Charge of Your Digital Identity (2018), AARP Washington, May, 2018.

Under Fire: Veterans and Fraud in America (2017), AARP and NORC at The University of Chicago,
November, 2017

Emotional Arousal May Increase Susceptibility to Fraud in Older Adults, Katharina Kircanski,
Nanna Notthoff, Stanford University, Doug Shadel. http://162.144.124.243/~longevl0/wp-
content/uploads/2017/02/Kircanski.pdf, 2015

Identity Theft: Americans still not taking necessary precautions to prevent it (August, 2014), 2250
respondents 18+).

Caught in the Scammer’s Web: Risk Factors that May Lead to Internet Fraud (February, 2014).
Co-led a survey of 11,271 web surfers that compared internet fraud victims to non-victims. The study
included one national sample and 12 state samples.

National Fraud Victim Profiling Study (2011). Co-led a study surveying thousands of victims of ten
different scams and a large general population sample to identify behavioral and demographic
differences. AARP Foundation and AARP Washington.

Forewarning Reduces Fraud Susceptibility in Vulnerable Consumers (2014) Scheibe, $., Notthoff,
N., Menkin, J., Ross, L., Shadel, D., Deevy, M., Carstensen, L., Basic and Applied Social Psychology,
Vol. 36, Issue 3, pp. 272-279.

Outsmarting Investment Fraud Persistence Study (2009) Conducted response testing of older
consumers exposed to a fraud prevention workshop to determine if the workshop changed behavior.
Study found significant reduction in responsiveness to a fraud pitch.

Mental Status of Lottery Victims Pilot Study (2009). Co-led research that conducted in-home mental
status evaluations of elderly lottery victims to assess the presence of cognitive impairment. The study
found that 80% of those evaluated had cognitive impairment beyond that found in normal aging.

2 Doug Shadel CV

EXP_00000373
Case 1:19-cr-00098-CMA Document 74-3 Filed 01/08/20 USDC Colorado Page 3 of 4

Outsmarting Investment Fraud Field Study (2008) Conducted response testing of older persons
exposed to investment fraud prevention curriculum compared to controls. Study found a significant
reduction in response to a fraud pitch among those receiving training.

A Survey of Investment Victims and the General Population (2008) Conducted a study that refined
and replicated previous studies profiling investment fraud victims. It was sponsored by AARP
Washington.

The Psychology of Consumer Fraud (2007) Co-led a study that analyzed hundreds of undercover fraud
tapes and identified the most common persuasion tactics used by con men by scam type. It was conducted
with Karla Pak and was a doctoral dissertation.

The Senior Investor Fraud Study (2006) Co-led a study that profiled investment and lottery fraud
victims and found discrete differences compared to a control population. The study found victims of

investment fraud were more financially literate than the general population. The study was funded by
the NASD Investor Education Foundation.

US DOJ Study - “Off the Hook: Reducing Participation in Telemarketing Fraud” (2003) Co-led
this study that tested the effectiveness of peer counseling in preventing consumer fraud victimization.
The study found peer counseling significantly reduces susceptibility to fraud pitches.

Investigative Articles

When Prison Calls: inside the Georgia Prison Scandal,, AARP the Magazine, 2019

How Crooks Use Gift Cards, AARP The Magazime, May/Tune, 2019

Dancing with the Devil: Inside the Social Security Scam, AARP the Magazine, April/May, 2019
inside the Dark Web, AARP Bullet, Sept/Oct, 2018

Website Wolves, AARP the Magazine, Sept/Oct., 2018

Beware the Blue Screen of Death, AARP The Magazine, June/luly, 2017,

The Timeshare Trap, AARP The Magazine, by Doug Shadel, Feb./Mar, 2017.

All that Glitters, AARP The Magazine, by Doug Shadel and Joe Eaton, August/September, 2016.
Are You Real?, AARP The Magazine, by Doug Shadel and David Dudley, Jun/Tul, 2015.

She Stole My Life, AARP The Magazine, by Doug Shadel, October/November, 2014
Confessions of a Con Man, AARP The Magazine, by Doug Shadel, November, 2012.

Columns

Out Tech the Scams, AARP the Magazine, July/Auoust, 7019

The Worst Time to Answer the Phone, AARP Bulletin, February/March, 2019.
Summer crime prevention tips, AARP the Magazine, Tulw/ August, 2018

The Big Freeze, AARP The Magazine, April/May, 2018

The Sounds of Fraud, AARP The Magazine, Feb./Mar,, 2018

The Charity Check Scam, AARP The Magazine, Dec./Tan. 2018

When a Con Man Calls, AARP The Magazine, Oct/Nov. 2017

7 Ways to Block Computer Viruses, AARP The Magazine, Aug/Sept. 2017

3 Doug Shadel CV

EXP_00000374
Case 1:19-cr-00098-CMA Document 74-3 Filed 01/08/20 USDC Colorado Page 4 of 4

Documentaries

Out of the Shadows: The Dark Web, AARP Washington, 2019

Unmasking the Im posters (2018) AARP Washington, February, 2018

Stealing Your Name, Stealing Your Life (2016) October, 2016.

Under the Ether: The Con’s Secret (2014), Cerviking and AARP Broadcast, Washington DC.
Tricks of the Trade DVD (2010) FINRA Investor Education Foundation, Carden Productions.

Stolen Futures Video Documentary (2008) One Bounce/Cerviking Video Productions, Seattle, WA.
Cyber Cons Video Documentary (2006) AARP Washington and Viking Productions, Seattle, WA.
Identity Theft Video Documentary (2003) Bruce Carlson, One Bounce Productions and AARP
Television, Washington DC.

The Weapons of Fraud Video Documentary (2002) One Bounce Productions and AARP Television.
No Profit, No Return Video Documentary (2001) Co-Produced by Bruce Carlson, One Bounce
Productions and AARP Television, Washington DC.

The Charity Con Video Documentary (1998) Co-Produced by Bruce Carlson, One Bounce
Productions and AARP Television, Washington DC.

Don’t Fall for a Telephone Line Video Documentary (1997). Co-Produced by Bruce Carlson, One
Bounce Productions, and AARP Television, Washington DC.

Awards

FBI Director’s Award (2000) For Exceptional Public Service

4 Doug Shadel CV

EXP_00000375
